Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 1 of 48 PageID 3924


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              WICHITA FALLS DIVISION

PEARSON’S INC. d/b/a PEARSON                    §
LIVESTOCK EQUIPMENT CO.,                        §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §     Civil Action No. 7:18-cv-00013-BP
                                                §
ROBERT DEAN ACKERMAN, et al.,                   §
                                                §
       Defendants.                              §

                         MEMORANDUM OPINION AND ORDER

       On January 25, 2018, Pearson’s Inc. d/b/a Pearson Livestock Equipment Co. (“Pearson”),

filed suit against Robert Dean Ackerman and Heather Ackerman Badley (collectively

“Ackerman”) and Titan West, Inc. (“Titan”) for trademark and trade dress infringement under the

Lanham Act, 15 U.S.C. §§ 1051, et seq., trade dress dilution under Section 16.103 of the Texas

Business and Commerce Code, and trade dress infringement under Texas common law. (See

generally, ECF No. 1). On February 16, 2018, Ackerman filed his Answer, Plea, and

Counterclaims. (ECF No. 12). Ackerman asserted counterclaims against Pearson for trademark

cancellation and antitrust violations. (Id.). Subsequently, Pearson nonsuited its claims against

Badley (ECF No. 18), and Ackerman’s antitrust counterclaims were dismissed by agreement (ECF

No. 32). Before trial, Pearson settled its claims with Titan. (ECF No. 63).

       The Court conducted a three-day bench trial on April 29, 30, and May 1, 2019. During the

trial, the Court heard testimony from Robert Dean Ackerman, Clint Newton, Ricky Rater, David

Rater, Van Neidig, Bret Hull, Cory Knight, Patrick Carhart, and Mark McKenna. By agreement of

the parties, the Court admitted in evidence Pearson’s Exhibit Nos. 1-2, 62-64, 81, 82, and 90-107

and also admitted Ackerman’s Exhibit Nos. 201-221, 223-228, 231-234, 236, 237, 246, and 248.
 Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                  Page 2 of 48 PageID 3925


During trial, the Court admitted Pearson’s Exhibit Nos. 6, 11, 17, 20, 23, 25, 27, 32, 36, 46-49, 52,

56-58, 65, 84, 85, 108 and Ackerman’s Exhibit Nos. 222, 250, and 255. Demonstrative Exhibit

Nos. 9, 256, and 257 also were admitted. Pearson withdrew Exhibit No. 89, and Ackerman

withdrew Exhibit Nos. 200, 230, 238, 241, 245, and 247. After the trial concluded, Pearson and

Ackerman timely submitted their proposed findings of fact and conclusions of law.

       After considering the evidence and the arguments of counsel, and for the reasons set forth

below, the Court finds that Pearson’s mark is functional and nondistinctive. Thus, its trade dress

and trademark (“Pearson mark” or “mark”) are not legally protectable. Therefore, Pearson’s

registered trademark No. 5,184,202 is canceled pursuant to 15 U.S.C. § 1119. Additionally,

Ackerman has not proven his fraudulent procurement claim by clear and convincing evidence. Nor

has he proven the case is exceptional under 15 U.S.C. § 1117(a). Accordingly, his request for

attorney’s fees is denied.

                                      FINDINGS OF FACT

I.     History of the Pearson Chute

       Pearson designs, manufactures, and sells products for use in the cattle industry. One of its

products is the “Pearson Chute,” a manual, parallel squeeze cattle chute that it has sold since the

1970s. The chute consists of a narrow, cubical framed structure that is wide enough to

accommodate a single animal. The chute is designed to immobilize an animal by uniformly

squeezing it from both sides, thereby providing easy access to the animal for examination and

other procedures. (Pl.’s Exh. 2 at 159). Pearson protected the chute’s functional features, including

the squeeze mechanism and other features, through a series of utility patents issued by the United

States Patent and Trademark Office (“PTO”) in 1965, 1977, and 1982. (Pl.’s Exh. 2 at 150–55,

156–63, 164–68).




                                                 2
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                  Page 3 of 48 PageID 3926


       Over the years, the design and overall look of the Pearson Chute have evolved. The

appearance of the modern-day Pearson Chute has remained substantially unchanged since the early

1990s, when circular disks were incorporated at opposite ends of the raised front crossbar and rear

squeeze hinge orientated forward from its corner posts. (Transcript (“Tr.”) Vol. 1 at 142; Defs.’

Exh. 257).

       A photograph of the modern-day Pearson Chute, without the squeeze handle in place, is

shown below:




(Defs.’ Exh. 246 at 193).

       The original owners of Pearson sold the business to Ricky and David Rater in January

2013. (Tr. Vol. 2 at 50). Originally, Pearson only produced chutes in Thedford, Nebraska. Shortly

after purchasing the business, the Raters expanded its manufacturing capabilities to Vernon, Texas.

(Id. at 184). Ricky Rater is Pearson’s Vice President and General Manager with overall

responsibility for operations, and David Rater is Pearson’s President with responsibly for banking,




                                                3
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 4 of 48 PageID 3927


marketing, and distributor relationships. (Id. at 185). David Rater is Ricky Rater’s father. (Id. at

174).

        Today, Pearson produces approximately 400 cattle chutes annually and sells anywhere

from five to thirty-three percent of its chutes into the international market. (Id. at 54–56).

Domestically, Pearson sells its products directly to consumers and through regional distributors

who may or may not have local dealer relationships. (Id. at 54).

II.     Pearson’s relationship with Ackerman

        Ackerman has been in the retail cattle equipment business for nearly forty years. (Tr. Vol.

1 at 180). His wife, Donna Ackerman, and daughter, Heather Badley, are employees of the

business, which is located in La Salle, Colorado. (Id. at 178–80). In 1983, Ackerman began selling

Pearson Chutes as a local dealer. (Id. at 180). From 1993 to 2014, Ackerman served as Pearson’s

exclusive regional distributor of Pearson Chutes for the Colorado Region of the United States. (Id.

at 184).

        The Pearson Chute is a popular, high-quality chute with a good reputation in the cattle

industry. (Id. at 183; Tr. Vol 2 at 12). Although distributing the Pearson Chute had been fairly

profitable, Ackerman wanted to sell a more economical chute that functioned like a Pearson Chute,

but without the price and geographical restrictions imposed by Pearson. (Id. at 186–87; Tr. Vol. 3

at 115–16). Ackerman’s idea was not new. Since the 1990s, after Pearson’s utility patents expired,

other manufacturers of cattle chutes began incorporating aspects of the Pearson Chute’s design,

mimicking its function and shape. (Tr. Vol. 2 at 14, 74–83, 138–40; Defs.’ Exh. 256). However,

aside from the chutes co-developed by Ackerman, there is little evidence to establish the market

success and adoption of these third-party competitors throughout the cattle chute industry. (See Tr.

Vol. 2 at 74–83, 141–43).




                                                 4
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                    Page 5 of 48 PageID 3928


          Ackerman and WW Manufacturing (“WW”), one of Pearson’s competitors, developed a

new cattle chute called the Next Generation Beefmaster (“Beefmaster”). (Tr. Vol. 1 at 187–90).

WW already manufactured a cattle chute called the Stampede that incorporated many of the design

features comprising the Pearson Chute. (Id. at 187, Tr. Vol. 2 at 15–16). As a result, the Stampede

resembles the Pearson Chute, but is substantially heavier and contains additional design features

making it a more expensive cattle chute than what Ackerman wanted to sell. (Id.; Tr. Vol. 2 at 6).

To aid WW in designing a more economical chute, Ackerman sent a Pearson Chute to WW. (Id.).

Ackerman asked WW to implement specific features of the Pearson Chute, the circular disks and

removable wings or side panels, into the Beefmaster’s design. (Id. at 190–91; Tr. Vol. 2 at 16–17).

          The circular disks allow the chute to operate as either a left- or right-handed chute and

permit a user to orient the squeeze handle attached to the disk in multiple directions. (Tr. Vol. 2 at

16–19; Tr. Vol. 3 at 117; See Pl.s’ Exh. 2 at 53, 141, 146). The circular disks’ functionality,

combined with the raised front crossbar and squeeze handle, provide both safety and operational

benefits. (Id. at 16–19, 115–16; Tr. Vol. 3 at 117; See Pl.s’ Exh. 2 at 53, 141, 146). The combination

allows a user to orientate the squeeze handle to the position and stature of the user, thereby

providing extra leverage and promoting safety by keeping a user out of harm’s way in the event of

any unforeseen release of the animal inside the chute. (Id. at 16–19; Tr. Vol. 3 at 117). The

removable side panels allow for easier access to the animal once it enters the chute. (Pl.s’ Exh. 2

at 53).

          Pearson learned that Ackerman sent a Pearson Chute to WW. (Tr. Vol. 1 at 191). David

Rater telephoned Ackerman on or about March 20, 2014 to confront him about sending the chute

to WW to be “copied.” (Id. at 193). Ackerman confirmed he sent a Pearson Chute to WW and

understood that Pearson did not want him copying any Pearson Chute design features into any




                                                  5
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 6 of 48 PageID 3929


other competing chutes. (Id. at 195). On the call, David Rater terminated Ackerman as a Pearson

distributor. (Id.; Tr. Vol. 2 at 195).

III.    Ackerman competes with Pearson

        Ultimately, the Beefmaster was unsuccessful. (Tr. Vol. 2 at 20). Undeterred, Ackerman

developed a relationship with another chute manufacturer called Pro Farm Manufacturing, Inc.

(“Pro Farm”), a Canadian company with manufacturing capabilities in China. (Tr. Vol. 1 at 201,

204–05). Ackerman’s wife first saw a Pro Farm chute at a cattle equipment auction. (Id. at 201–

02). At the time, the Pro Farm chute was painted a green color.(Id. at 202–03; Pl.s’ Exh. 6). But it

had many of the same features of a Pearson Chute, including the raised front crossbar, circular

disks, and squeeze handle. (Id. at 213). On or about March 18, 2014, Ackerman accompanied his

wife to the auction to collect equipment she had purchased. (Tr. Vol. 3 at 119). While there, he

saw the Pro Farm chute and remarked that it looked like a Pearson Chute. (Id. at 120; Tr. Vol. 1 at

213).

        Days after David Rater terminated Pearson’s distributorship, Ackerman contacted Pro

Farm about distributing the Pro Farm chute. (Tr. Vol. 1 at 201). After Pro Farm sent Ackerman his

first order of Pro Farm chutes, a representative from Pro Farm visited Ackerman in La Salle, where

the representative saw a Pearson Chute. (Id. at 206). Much like his experience with the Beefmaster,

Ackerman helped develop the Pro Farm chute for the domestic market. (Id. at 209–10). Ackerman

rebranded the Pro Farm chute to be named the Renegade; instructed Pro Farm to change the color

of the Renegade from green to gray; advised Pro Farm on how to improve the chute; and advertised

the gray Renegade chute. (Id. at 204, 214–15, 217; Pl.s’ Exh. 11, 36, 65). As a result of Pro Farm

and Ackerman’s joint development, the Renegade Chute looks very similar to the Pearson Chute,

as shown below.




                                                 6
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                    Page 7 of 48 PageID 3930




 Pl.’s Exh. 58 (Renegade Star).                       (Defs.’ Exh. 246 at 193) (Pearson Chute).

       Ackerman distributes the majority of Pro Farm’s Renegade chutes that are sold in the

United States. (Id. at 211). From early 2014 through May 2018, Ackerman sold approximately 244

Renegade and eight Equalizer chutes. (Id. at 225–26). The Equalizer is a cattle chute manufactured

by Titan. For unknown reasons, Ackerman allowed Titan to copy the Renegade chute. (Id. at 219).

Ackerman went so far as to request that Titan incorporate the circular disks found on the Pearson

Chute into the Equalizer’s design. (Id.). A review of the Equalizer confirms that it is nearly

identical to the Pearson Chute. (Id. at 66, 76; Pl.s’ Exh. 3).

       As a result of Ackerman’s actions in co-developing the Beefmaster and actively competing

against Pearson with the Renegade, Pearson filed for trademark registration on September 17, 2014

to protect the shape of the Pearson Chute. (Tr. Vol. 2 at 109). A week prior to filing its trademark

application, Pearson mailed to Ackerman a cease and desist letter demanding that he stop using

Pearson’s logo and name on his website. (Id. at 36, 103, 146). The cease and desist letter did not

demand that Ackerman stop producing the Renegade or stop copying the shape of the Pearson

Chute. (Id.). Ackerman stated it was clear to him from his conversation with David Rater


                                                  7
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                     Page 8 of 48 PageID 3931


terminating him as a distributor that Pearson did not want him to incorporate features of the

Pearson Chute into other chutes. (Tr. Vol. 1 at 195). However, Ackerman did not understand the

Pearson Chute could be trademarked, especially in light of other chutes that incorporated features

of Pearson’s mark like the 2W Wrangler and WW Stampede. (Tr. Vol. 2 at 36; Tr. Vol. 3 at 118).

        Pearson did not inform Ackerman that the Renegade potentially infringed the Pearson mark

until Pearson filed suit in this case in January 2018. (Tr. Vol. 2 at 38, 146). After that time,

Ackerman began producing and marketing the Renegade Star, another model of chute. (Id. at 38–

40). The only difference between the Renegade and Renegade Star is that the latter has a star-

shaped metal plate in place of the circular disk. (Id.). Even with the star plate affixed, the circular

disk outline is still present. (Tr. Vol. 1 at 225; Pl.s’ Exh. 58).

IV.     Distinctiveness and Confusion

        The Pearson Chute’s design has remained largely unchanged since 1993. (Tr. Vol. 1 at

142). Although Pearson did not offer any evidence of the number of chutes it sold after 1993,

consumers and distributors of cattle chutes generally recognize a Pearson Chute. Testimonials

presented to the PTO during prosecution of the Pearson mark showed that customers recognized

the Pearson Chute. (Pl.s’ Exh. 2 at 141–48). However, it is unclear whether the entire mark;

individual features of the mark such as the circular disks, raised front crossarm, gray color, or

removable side panels; or some combination of features is what they identify as the Pearson mark.

Pearson also did not offer any consumer survey evidence to substantiate what features of the

Pearson mark are recognizable in the marketplace.




                                                    8
 Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                           Page 9 of 48 PageID 3932


        Ackerman, himself, exclaimed upon seeing the Pro Farm chute that it looked like a Pearson

Chute, except that it was green instead of gray. (Tr. Vol. 1 at 213). Van Neidig,1 a cow-calf operator

and designer of several cattle chutes, testified the Renegade was a direct copy of the Pearson Chute,

but manufactured at substantially lower quality. According to Neidig, Ackerman copied the

arrangement of the raised front crossbar, circular disks, and squeeze handle combination from the

Pearson Chute. He described how the Pearson Chute has a good reputation in the industry and is

of higher quality than the Renegade. The differences between the Renegade and Pearson Chute are

weight, size of material, and quality of construction.

        Bret Hull,2 a longtime cattle rancher who mainly uses a chute manufactured by WW, also

stated the Pearson Chute has a recognizable shape, specifically noting the raised front crossbar and

circular disks. Hull described the look as a “praying mantis,” recognizable from 300 yards away.

Further, he noted that the gray color of the chute is distinctive to Pearson, and the basic design has

not changed for the last twenty-five years. Hull also testified that he first saw a Renegade at a trade

show two years earlier and was surprised to see that it was virtually identical to the Pearson Chute,

specifically the raised head gate, parallel chute frame, raised circular disks, tail gate, and color.

Notwithstanding the similarities, Hull was able to distinguish the Renegade from a Pearson

because of its weight and quality of construction.

        Ackerman offered the testimony of Patrick Carhart, retired WW national sales manager.

(Tr. Vol. 3 at 36). Carhart worked in the agricultural equipment industry for forty-five years before

his retirement on January 1, 2016. (Id. at 36, 38). During his career, he sold chutes for various

manufacturers and was WW’s sales representative from 1995 until being promoted to national


1, 2
    Van Neidig’s and Bret Hull’s testimony was offered by pre-recorded video deposition and apparently was not
transcribed. Their deposition transcripts were not offered in evidence or filed by the parties. However, the Court
reviewed the audio recordings of their video deposition trial testimony in preparing the Findings of Fact.



                                                        9
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 10 of 48 PageID 3933


sales manager in 2004. (Id. at 37). He testified that there were around two dozen parallel squeeze

chutes on the market when he retired. (Id. at 38). He stated that the Pearson Chute is recognizable

because of its parallel squeeze function. (Id. at 40–41). Further, because there are similarities

between parallel squeeze chutes, it would be hard to identify a Pearson Chute from a line-up of

other parallel chutes. (Id. at 40). He testified that the Pearson Chute is distinguishable from other

parallel chutes because of its “pull-out sheet,” a reference to the removable side panels. (Id. at 44,

49). He also stated that although the color of a chute is an indicator of the manufacturer, there are

multiple chutes using a gray color, and there is nothing special about the shade of gray used by

Pearson. (Id. at 41). When asked if he could distinguish a Pearson from the other chutes he had

sold or was familiar with during his career, Carhart responded in the affirmative. (Id. at 49).

       Traditionally, cattle chutes are advertised in print and at trade shows, and more recently,

on the internet. (Tr. Vol. 2 at 3, 52, 57–58). Manufacturers display the functionality of their chutes

through demonstrations with live cattle at trade shows. (Tr. Vol. 3 at 124). In September 2014, at

the Husker Harvest Days trade show in Nebraska, industry representatives and participants

confused the Renegade with the Pearson Chute at one such demonstration. (Tr. Vol. 2 at 42–43).

Ackerman took two Renegade chutes to the Husker Harvest trade show. (Id. at 44; Tr. Vol. 3 at

121–22). Participants at the show remarked how the Renegade looked like a Pearson Chute.

Initially, show officials prevented Ackerman from demonstrating the Renegade, thinking it was a

Pearson Chute. (Id. at 45). After Ackerman explained that he was marketing the chute as a

Renegade and not a Pearson Chute, he was allowed to demonstrate the Renegade. (Tr. Vol. 3 at

123). Later, at the Dakota Fest trade show, consumers who had purchased a Pearson Chute and

needed replacement parts, initially confused the Renegade for a Pearson Chute. (Tr. Vol. 1 at 223;

Tr. Vol. 2 at 73, 100; Pl.s’ Exh. 52). Ackerman clarified the confusion.




                                                 10
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                 Page 11 of 48 PageID 3934


         The Raters anecdotally discussed how consumers on Facebook.com and at trade shows

remarked that the Renegade and Pearson Chute look similar. (Tr. Vol. 2 at 96, 99–100, 103, 198).

An email from a Pearson customer asked Ricky Rater about Ackerman’s website advertisement of

the Renegade, questioning whether it was a Pearson Chute. (Id. at 97–98; Pl.s’ Exh. 81). In the

same email, the customer understood that Ackerman had previously been a Pearson distributor.

(Id.).

         Consumers confused not only the shape, but also the color of the Renegade with the

Pearson Chute. And, at least one consumer purchased a Pearson Chute after finding the Renegade

was of lower quality. (Tr. Vol. 3 at 125–26). Although Ackerman used Pearson’s name as a

metadata tag in his website, aside from nonspecific, anecdotal comments made by the Raters,

Pearson offered no persuasive evidence to establish that any consumer purchased a Renegade

thinking it was a Pearson Chute. (Tr. Vol. 1 at 134; Tr. Vol. 2 at 32, 170–71). The Raters did not

specify or generally discuss how many more Pearson Chutes would have been sold but for the

existence of the Renegade and Equalizer chutes in the cattle chute market.

V.       Quality Issues

         The Raters testified that due to quality concerns related to the Renegade, Pearson’s

reputation had been damaged, though their testimony regarding the amount was speculative at best

and was not sufficient to support an award of damages. No expert quantified the impact or damage

to Pearson. The Renegade encountered quality control problems as a result of Pro Farm’s

manufacturing inconsistencies. (Tr. Vol. 1 at 228–29). Because of these inconsistencies, Ackerman

had to rework or repair nearly every Pro Farm chute he received before selling them. (Id. at 228–

29). The Renegade chutes as received from Pro Farm were basically unsellable before Ackerman

reworked them. (Id. at 229). Ackerman even characterized some of the chutes as unsafe. (Id. at




                                               11
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 12 of 48 PageID 3935


230). Neidig testified that during trade show demonstrations of the Renegade, the chute

malfunctioned, and participants in the trade show steered clear of the Renegade. Although

Ackerman reworked defective Renegade chutes before selling them and provided customers with

replacement parts and services, Pro Farm’s manufacturing problems negatively affected the

Renegade’s reputation for quality. (Tr. Vol. 1 at 227; Tr. Vol. 2 at 11, 109–10, 200–01).

VI.    Pearson obtains trademark registration over elements of the Pearson Chute

       A.      The registered trademark

       On September 17, 2014, several years after the Pearson Chute’s patents expired, and

shortly after the Husker Harvest Days trade show, Pearson applied for trademark registration with

the PTO. After the PTO limited the scope of the mark, Pearson received trademark registration in

the principal register (Registration No. 5,184,202) on April 18, 2017. Below is an illustration of

the Pearson mark (highlighted for ease of reference):




(Pl.’s Exh. 2 at 12). Pearson’s trademark covers the following features:

       The mark consists of a three-dimensional configuration of a cattle chute,
       specifically having four vertical corner posts extending upwardly from a
       rectangular base, parallel upper side rails that connect front and rear corner posts, a
       rear cross arm connecting the upper side rails adjacent the rear cross arm, a raised

                                                 12
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                     Page 13 of 48 PageID 3936


       front cross arm connecting the front vertical posts and having extensions extending
       rearwardly therefrom and circular disks on opposite ends, a squeeze handle
       extending upward from one of the disks of the front cross arm, upper and lower
       front squeeze hinge arms extending rearward from the front corner post, and the
       upper and lower rear squeeze hinge arms extending forward from the rear corner
       post.

(Id. at 4). Color was specifically disclaimed by Pearson and is therefore not part of the trademark.

Nor does Pearson explicitly claim color as part of its trade dress.

       B.      Prosecution of the Trademark

       Because prosecution of the trademark is at issue, a summary of the prosecution history,

supporting evidence, and arguments made during prosecution are described below. The summary

is based on the trademark file wrapper. (See generally Pl.’s Exh. 2 and Defs.’ Exh. 246).

               1.      The PTO’s Initial Rejection and Pearson’s Response

       The Trademark Examiner (“Examiner”) initially rejected Pearson’s application because it

appeared to be functional and nondistinctive, and the illustration of the trademark did not match

the specimen provided by Pearson. In explaining the initial rejection, the Examiner listed several

competing chutes with similar functional features, including the Stampede and Renegade chutes.

Pearson responded to the Examiner’s functionality rejection. It argued that (1) because the

Examiner is not a consumer of cattle chutes, what may appear similar to a normal person would

not be similar to a cattle chute consumer; (2) the competing chutes listed, though they may function

similarly, do not incorporate the Pearson Chute’s shape; and (3) the Ackerman chute is a direct

copy of the Pearson Chute. In response to the distinctiveness rejection, Pearson argued it had sold

the Pearson Chute for over fifty years and highlighted the raised front crossbar as a feature not

incorporated by the competing designs listed by the Examiner.




                                                 13
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 14 of 48 PageID 3937


               2.      The PTO’s Second Rejection and Pearson’s Response

       The Examiner again issued a rejection of Pearson’s trademark application. The Examiner

rejected Pearson’s non-functionality argument because the illustration did not indicate which

features of the mark did not have utilitarian advantages, and Pearson’s website indicated utilitarian

benefits of the Pearson Chute’s design. Further, the Pearson website informed her of undisclosed

utility patents, which covered aspects of the mark. The Examiner also continued her distinctiveness

rejection due to insufficient evidence the mark had acquired distinctiveness. She also included a

new rejection under Section 2(f) for insufficient evidence of substantially exclusive and continuous

use in commerce for more than five years. Moreover, the Examiner rebutted Pearson’s argument

that the raised front crossbar was exclusive to Pearson, citing examples of competing chutes she

listed in the first office action rejecting the application. The Examiner also continued her rejection

that the illustration did not match the specimen provided. Because the Examiner added a new

ground for rejection, the second rejection was not made final.

       Unlike Pearson’s previous response to the Examiner’s rejection, its response to the

Examiner’s second rejection contained a persuasive, detailed brief with (1) an annotated

illustration highlighting the claimed features of the mark, (2) testimonials from customers and a

competitor discussing the benefits and recognizability of the Pearson Chute; (3) copies of the

expired utility patents relevant to the Pearson Chute, (4) examples of Pearson’s advertisements

made over the years, and (5) annotated alternative designs employing similar features of the mark.

       As originally filed, Pearson’s application attempted to trademark the entire arrangement of

the Pearson Chute. In response to the Examiner’s rejection, Pearson disclaimed many features of

the Pearson Chute and focused its application on specific features, which it argued were not

claimed or described in its patents and did not preclude others from producing alternative parallel




                                                 14
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 15 of 48 PageID 3938


squeeze chute designs. Other than evidence of alternative designs, Pearson did not present any

evidence to establish how the claimed features were merely ornamental, incidental, or arbitrary

aspects of the Pearson Chute. As to distinctiveness, Pearson resubmitted its prior argument that

the mark, as now claimed, had acquired distinctiveness. To bolster this argument, Pearson directed

the Examiner to seven testimonials showing how customers recognized the Pearson Chute. Many

of these testimonials state that some of the features are uniquely Pearson, but in the same statement,

describe the utilitarian advantages of the same features. Other testimonials describe how the gray

color of the chute distinguished the Pearson Chute from others, ambiguously refer to the shape of

the Pearson Chute, or discuss features of the chute not claimed in Pearson’s application. A

testimonial from Neidig, who claimed to be a competitor of Pearson, touted the recognizable,

unique features of the Pearson Chute. Pearson also submitted a new substitute specimen. In total,

Pearson’s arguments contained in the response were primarily directed toward the Examiner’s

rejection for functionality.

                3.      The PTO’s Final Rejection and Pearson’s Request for Reconsideration

        On April 16, 2016, The Examiner issued a final office action rejecting Pearson’s

application because of functionality, nondistinctiveness, and the illustration of the trademark did

not match the specimen provided by Pearson. The Examiner rejected Pearson’s functionality

argument citing to In re Morton–Norwich Prods., Inc., 671 F.2d 1332 (C.C.P.A. 1982). She

concluded the patents disclose and advertising touts utilitarian advantages of the Pearson Chute,

and that alternative designs include the same or similar features of the Pearson Chute. Moreover,

the testimonials described functional aspects of the Pearson Chute’s design. The Examiner also

rejected Pearson’s distinctiveness argument. The Examiner noted that although some features of

the Pearson Chute were present in the alternative designs, the testimonials describe how the gray




                                                 15
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                  Page 16 of 48 PageID 3939


color distinguished the Pearson Chute from others, and that the advertisements did not describe

non-utilitarian advantages of the Pearson Chute. Finally, the Examiner continued her rejection

based on the specimen not matching the illustration.

       Because the Examiner issued a final rejection, Pearson submitted a detailed Request for

Reconsideration in response including (1) an amended drawing, (2) copies of the expired utility

patents relevant to the Pearson Chute, (3) the declaration of Ricky Rater, signed as Secretary and

Director of Pearson, and (4) a substitute specimen photo. In response to the Examiner’s final

rejection for functionality, Pearson again reiterated its argument the mark is not functional citing

to the Morton-Norwich factors. Notably, Pearson argued for the first time that the claimed features

along with their shape, arrangement, and relation to each other, as a whole, were what Pearson was

attempting to trademark, and that the patents neither claimed the shape nor was the shape dictated

by any utility claimed in the patents. Pearson also argued that it specifically disclaimed from the

trademark any features disclosed in the patent. Further, Pearson argued that even if some of the

trademarked features were disclosed in the patents, their arrangement was not dictated by function.

Pearson also countered the Examiner’s argument that the advertisement touted utilitarian

advantages of the Pearson Chute by pointing out that none of the advertisements stated that the

advantages were because of the design. Finally, Pearson argued that the availability of alternative

designs established that no competitor would bear a significant disadvantage if the PTO were to

issue the trademark because the shape of Pearson’s mark was not required to produce a competing

chute, nor would competitors be economically disadvantaged.

       In response to the Examiner’s rejection for nondistinctiveness, Pearson reiterated that the

Examiner must analyze distinctiveness from the perspective of cattle chute consumers and

reasserted that record evidence established the Pearson Chute was distinctive and well-known in




                                                16
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                Page 17 of 48 PageID 3940


the industry. Pearson further argued that the Pearson Chute’s design acquired distinctiveness by

distinguishing the testimonials in light of the Examiner’s prior rejection. Additionally, Pearson

significantly expanded its argument from the first response that the Pearson Chute was the target

of intentional copying. Citing Ricky Rater’s declaration, Pearson discussed the circumstances

leading to Ackerman’s deliberate attempt to confuse customers and use Pearson’s goodwill to his

benefit. Pearson’s response also highlighted the testimonial from Neidig who characterized the

Renegade as an attempt to copy and confuse customers.

       In sum, although Pearson made similar arguments concerning functionality and

distinctiveness, the Request for Reconsideration incorporated stronger and more pointed

arguments to the Examiner’s reasons for rejecting its trademark application. Thereafter, the PTO

issued Pearson’s trademark on the Principal Register on April 18, 2017. Neither the PTO nor the

Examiner described which arguments made in Pearson’s Request for Consideration convinced the

PTO to issue the trademark.

VII.   Functionality of the mark

       A.      Evidence of Functionality

       It is undisputed that every feature of the Pearson Chute has a functional purpose and that

the chute will not function properly without each feature. (Tr. Vol. 2 at 116–17). Further, the

Pearson Chute’s simple design makes the chute easier and safer to use. For example, the

combination of the raised front crossbar, circular disks, and attached squeeze handle allows for

operation of the chute from either side by users with varying heights and unobstructed access to

the chute, thereby making it safer and easier to operate.

       Neidig testified that Akerman copied the arrangement of the raised front crossbar, circular

disks, and squeeze handle combination from the Pearson Chute, and there was no functional reason




                                                17
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                 Page 18 of 48 PageID 3941


why a cattle chute needs to be arranged exactly the same way. He explained that some of the chutes

he designed actuate the squeeze mechanism in a different manner. However, Neidig also testified

that the placement of the circular disks with multiple holes along the periphery allows the squeeze

handle to be adjusted by the user of the chute, promoting leverage in operating the chute. Further,

the crossarm’s and squeeze hinges’ placement promote the chute’s structural integrity. Those items

along with other features of the Pearson mark are all “inherent” to performance. Notwithstanding

these statements, according to Neidig, other parallel squeeze chutes function without mimicking

the Pearson mark.

       Like Neidig, Hull stated that everything in the Pearson Chute has a function and the chute

would not function properly without each feature. Hull also explained benefits of the Pearson

Chute design. For example, the raised front crossbar confers a safety benefit by making it less

likely for head injuries when compared to the WW chutes he uses. Moreover, the ability to change

the angular orientation of the squeeze handle around the circular disk provides a user more or less

leverage in actuating the parallel squeeze chute mechanism.

       However, neither party presented any persuasive evidence to establish the mark affects the

cost of the chute.

       B.      Pearson’s expired utility patents

       Pearson received three utility patents covering the Pearson Chute. (Pl.’s Exh. 2 at 64–71).

They are patent numbers 3,221,707 (Automatic livestock head gate) issued December 7, 1965,

4,027,629 (Livestock Squeeze Chute) issued June 7, 1977, and 4,324,206 (Panel Mounted

Arrangement for Squeeze Chute) issued April 13, 1982. The Examiner specifically identified the

‘629 and ‘206 patents as depicting the Pearson trademark.




                                                18
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                    Page 19 of 48 PageID 3942


       Pearson’s trademark counsel, Clint Newton, testified generally that Pearson’s expired

utility patents did not claim the features Pearson sought to protect in its trademark application. (Tr.

Vol. 1 at 53–59). Newton explained that by disclaiming the functional features claimed in the

patents, the “guts that’s in between . . . the outline of [the] mark,” the nonfunctional frame is

protectable as a trademark. (Id. at 55). He further explained that the Pearson Chute’s frame,

although referred to in the claims’ preamble and described in the patents, did not necessarily need

to be the same size and shape as illustrated in the patent for the chute to function. (Id. at 57–58).

Newton discussed alternative designs depicting squeeze chutes that function with different frames.

(Id. at 58). Although Newton remarked these alternative designs were parallel squeeze chutes, he

did not offer an opinion as to whether they functioned the same or similarly to the Pearson Chute.

Further, there is no evidence from an expert discussing the operability of these alternative designs

and the Pearson Chute.

       Newton discussed how the ‘629 patent discloses a “frame” in the preamble of the patent

claims and that normally terms in the preamble of a claim are not limiting on the claimed invention.

Claims 1 and 2 of the ‘629 patent state “a livestock squeeze chute having a frame and laterally

spaced sides supported on said frame . . . .” (Pl.s’ Exh. 2 at 162–63). On cross examination, Newton

discussed how features of the Pearson mark were disclosed in the patent, for example: (1) the upper

and lower mounting brackets (the squeeze hinges) allowing for rotation of the side panels and (2)

the claims disclose “operable” means, such as the raised handle, to release the chute. (Tr. Vol. 1 at

104–05). When asked if his argument to the Examiner during prosecution was essentially that the

shape of the Pearson Chute was arbitrary even if each feature was functional, Newton did not

directly answer the question and instead stated that “the shape did not have to be that [particular]

shape in order to function as a cattle chute.” (Id. at 105–06).




                                                  19
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                     Page 20 of 48 PageID 3943


        Contrary to Newton’s assertion, a review of the ‘629 patent provides clarity for the shape

of the “frame” and other features of the Pearson mark. In the Background and Summary section

of the ‘629 patent, Pearson discusses that it is important for “the width of the chute as the animal

enters is uniform throughout its height and is not restrictively narrow at the bottom or elsewhere

so as to discourage the animal from entering.” (Pl.’s Exh. 2 at 159). In the Detailed Description of

the ‘629, every feature of the Pearson mark is identified. The frame’s base is described as rigid

and rectangular. (Id.). The patent discloses that the frame provides support for the chute to squeeze

to and away from each other. (Id. at 160, 162–63 (Preamble of Claims 1 and 2)). The patent also

describes the four vertical posts (front and rear corner posts) as welded at opposite ends of the rear

and forward angle sections of the frame. (Id. at 159). The rear posts are cylindrical, upright, and

parallel to one another and connected by a cross member (rear cross arm). (Id.). The front vertical

posts are upright and connected to rear vertical posts by horizontal members (upper side rails)

somewhat below the top ends of the posts. (Id.). The front posts are connected by a combination

of sleeves that are welded on top of each front post with a rotatable shaft fitted though the sleeves

(raised front crossarm). (Id. at 161). Each end of the shaft is fitted with a rectangular flange (instead

of a circular disk). (Id.). Each flange end can be fitted with a crank arm (squeeze handle) to operate

the chute, making the chute operable “from whichever side of the chute is desired.” (Id.).

        The patent also describes the front and rear squeeze hinge arms. Each front post also

functions as a vertical axis along which a tubular post rotates. (Id. at 160). The tubular posts have

parallel, upper and lower arm members (front squeeze hinge arms) attached. (Id.). Similar rear

hinge squeeze arms are attached to another cylindrical post, just forward from the rear vertical

posts. (Id.). Together, the front and rear squeeze hinge arms support the parallel squeeze’s function




                                                   20
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 21 of 48 PageID 3944


to move toward and away from one another. (Id.). Similar to the trademark, the front squeeze hinge

arms extend rearwardly. (Id.).

        The ‘629 patent is more precise than the trademark. For example, the patent describes the

squeeze hinge arms as parallel, equal in length, and at the same height. (Id.). The trademark only

describes which way the arms extend. In a similar vein, there are only two differences in the ‘629

patent’s description of the Pearson Chute when compared to the mark, namely the rectangular

flange on the crank arm and the rearwardly extending squeeze hinge arms.

VIII. Fraudulent Procurement

        Ackerman seeks to invalidate Pearson’s mark by claiming it was fraudulently procured. To

support his position, he called an expert in trademark law, Professor Mark McKenna, to challenge

statements in Ricky Rater’s declaration and Neidig’s testimonial.

        A.      Ricky Rater’s Declaration

        Pearson’s Request for Reconsideration cited Ricky Rater’s declaration of October 17,

2016, as evidence of intentional copying by Ackerman and to support Pearson’s substantially

exclusive and continuous use of the trademark. (Pl.’s Exh. 2 at 64–71). At the end of the

declaration, Rater declared that “all statements made herein of my own knowledge are true and

that all statements made on information and belief are believed to be true . . . .” (Id. at 71). None

of the statements made in the declaration are qualified as made on information and belief.

However, paragraph 38 states he is “authorized to execute this affidavit on behalf of the Applicant

corporation.” (Id. at 70). The declaration also states that the Pearson Chute’s design has become

distinctive “as a result of substantially exclusive and continuous use in interstate commerce for

well in excess of the five years . . . .” (Id.).




                                                   21
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 22 of 48 PageID 3945


       Ricky Rater’s declaration concerning intentional copying states that “a distributor,”

referring to Ackerman, had an “exact copy [of the Pearson Chute] made so he could . . . keep

selling the recognizable chute.” (Id. at 67). The declaration further describes the distributor’s

relationship with a Chinese manufacturer that produced the allegedly infringing chute and that

Akerman was motivated to create a lower-priced, but recognizable version of the Pearson Chute.

(Id. at 67–68). At trial, Ricky Rater testified to the source of these statements. Although none of

his statements in the declaration are qualified, he testified that his statements describing the

Renegade as an “exact copy” and describing Ackerman’s intent were based on a conversation he

had with his father, David Rater. (Tr. Vol. 2 at 123–24, 179). Ricky Rater testified that in

developing the declaration, he expanded his personal knowledge of the statements by investigating

and researching them, including talking to his father. (Id. at 179). David Rater conveyed to Ricky

his impression of the conversation he had with Ackerman about sending the Pearson Chute to WW.

(Id.). Ricky Rater did not personally discuss the issue with Ackerman. (Id. at 123).

       As for continuous use, the declaration states that the “unique design and appearance that is

the subject of the present application” has been incorporated into Pearson cattle chutes since 1973.

(Pl.’s Exh. 2 at 65). However, the Pearson Chute’s design has changed over time, most notably the

circular disk feature that was implemented sometime in the early 1990s, and the trademark file

wrapper contains varying depictions of the Pearson Chute without all the features of the mark.

(Pl.’s Exh. 170–76). However, the evidence presented by Ackerman indicates Pearson’s mark has

remained substantially unchanged since 1993.

       On the issue of substantially exclusive use, the declaration states in paragraph 30 that the

“Use of the subject design has, until recently, not only been substantially exclusive, including long

after expiration of any of the patents, but has been exclusive.” (Pl.’s Exh. 2 at 69). The next




                                                 22
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 23 of 48 PageID 3946


paragraph of the declaration clarifies paragraph 30 by stating, “Even with the aforementioned

recent knockoff, Applicant’s use . . . has been substantially exclusive . . . .” (Id.). Further, Ricky

Rater testified that he was referring to Ackerman’s Renegade design as the recent knockoff. (Id.

at 125). During prosecution, the Examiner highlighted the Renegade and other chutes as being in

the marketplace and that they used elements of Pearson’s mark. Pearson admits that “copies” of

the Pearson mark, such as the 2W Wrangler in the 1990s, the WW Stampede in the 2000s, and the

Beefmaster, not to mention the Renegade, predate filing of the application. (Id. at 138–39, 157).

However, there is little evidence, aside from the Renegade, as to the extent of any third-party use

of Pearson’s mark.

       B.      Professor McKenna’s testimony

       Professor McKenna, the John P. Murphy Foundation Professor of Law at the Notre Dame

Law School, whose area of expertise is trademark law, testified on behalf of Ackerman about the

previously mentioned statements made by Ricky Rater. (Tr. Vol. 3 at 53). He testified that because

Ricky Rater’s declaration was the only piece of new evidence presented in Pearson’s Request for

Reconsideration, the PTO found the declaration persuasive and allowed the trademark. (Id. at 61–

63).

       McKenna opined that Ricky Rater’s declaration contained material misstatements made

with the intent to deceive the PTO. Those statements are: (1) Ackerman produced an “exact” copy

of the Pearson mark; (2) Ackerman made those copies with the intent to profit from Pearson’s

reputation; and (3) the statements were made from personal knowledge, even though Ricky Rater

did not have any communication with Ackerman. (Id. at 63–64). McKenna testified that the

statements were material because but for those statements the PTO would not have issued the

trademark. (Id. at 65). McKenna testified that he reviewed David Rater’s deposition testimony and




                                                 23
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                 Page 24 of 48 PageID 3947


concluded Ricky’s statements were false because Ackerman never used the word “copy” for the

purposes of trying to appropriate Pearson’s goodwill. (Id. at 81–82). When asked by Pearson’s

counsel, “what is the fraudulent statement . . . ?,” McKenna acknowledged the “more specific”

purportedly false statement to the PTO was that Ricky Rater had personal knowledge that

Ackerman intentionally copied the Pearson Chute for the purpose of appropriating Pearson’s

goodwill. (Id. at 84–85). Even though McKenna acknowledged Ricky Rater did not use the words

“personal knowledge” in the declaration and made the declaration on behalf of Pearson’s Inc.,

McKenna concluded, based upon his reading of the declaration, that Ricky Rater made the

statements as an assertion of fact based on Ricky Rater’s own belief. (Id. at 87–92). McKenna

inferred intent on the part of Ricky Rater because David Rater actually had the relevant

conversation, and Ricky Rater knew he did not have personal knowledge of the conversation. (Id.

at 102–104). McKenna stated that David Rater was the proper person to have made the declaration.

(Id. at 101).

        C.        Neidigs’ testimonial statement

        Pearson’s trademark counsel cited Neidig’s testimonial in the Request for Reconsideration

as evidence of intentional copying by Ackerman. Additionally, Neidig stated he had competed

with Pearson for thirty-seven years. Neidig manufactures and sells a competing parallel squeeze

chute. Although a competitor to Pearson, Neidig also shares an undisclosed financial interest with

Pearson and described his relationship with Ricky Rater as a friendly business association. (Tr.

Vol. 2 at 159).

        Neidig and Pearson collaborated together on the contents of Neidig’s testimonial before

submitting it to the PTO. (Id. at 159–60). At trial, Neidig recounted its contents and stated he

“dismissed” the Renegade early on and now has “disgust” for it. He described the Renegade as a




                                                   24
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 25 of 48 PageID 3948


“piece of junk” with no value, and Ackerman is like P.T. Barnum selling into a market where a

“sucker is born every minute.” Neidig believes Ackerman’s development and marketing of the

Renegade at a lower price and quality take advantage of consumers.

       D.      Carhart’s testimony

       As WW’s national sales manager, Carhart was familiar with Ackerman. Although he did

not participate in developing the Beefmaster chute’s design, his involvement included ensuring the

Beefmaster was functional, practical, and properly priced. (Tr. Vol. 3 at 42). He stated the primary

purpose of the Beefmaster was to bring down the cost of the Stampede and that neither Ackerman

nor WW intended to copy the Pearson Chute’s shape. (Id. at 42–44). He specified that WW wanted

to adopt Pearson’s wings (the removable side panels) because they were more economical to

manufacture and operated smoothly. (Id. at 44).

                                   CONCLUSIONS OF LAW

       Pearson has sued Ackerman for trademark and trade dress infringement under the Lanham

Act and for statutory trade dress dilution and common law infringement under Texas law.

I.     Infringement

       The Lanham Act provides that a party may protect a trademark by registering it with the

PTO. 15 U.S.C. § 1051. A certificate of registration is prima facie evidence of a trademark’s

validity, registration, and ownership, and of the owner’s exclusive right to use the trademark in

commerce. Id. §§ 1057(b), 1115(a). A claim for trademark infringement requires proof that: (1)

the disputed trademark is protectable; (2) it is owned by the plaintiff; and (3) there is a likelihood

of confusion between the marks. Amazing Spaces, Inc. v. Metro Mini Storage, 608 F.3d 225, 235–

36 (5th Cir. 2010).




                                                 25
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                 Page 26 of 48 PageID 3949


       “Trade dress refers to the total image and overall appearance of a product and may include

features such as the size, shape, color, color combinations, textures, graphics, and even sales

techniques that characterize a particular product.” Id. at 251 (citing Pebble Beach Co. v. Tour 18

I Ltd., 155 F.3d 526, 536 (5th Cir. 1998) (internal quotation marks omitted), abrogated on other

grounds by, TrafFix Devices, Inc. v. Marketing Displays, Inc., 532 U.S. 23, 32–33 (2001)). “The

purpose of trade dress protection, like trademark protection, is to ‘secure the owner of the trade

dress the goodwill of his business and to protect the ability of consumers to distinguish among

competing products.’” Id. (quoting Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 774

(1992)).

       “The same tests apply to both trademarks and trade dress to determine whether they are

protectable and whether they have been infringed, regardless of whether they are registered or

unregistered.” Pebble Beach, 155 F.3d at 536. And neither a trademark nor trade dress is

protectable if functional. Bd. of Supervisors of LA State Univ. v. Smack Apparel Co., 438 F. Supp.

2d 653, 661 (E.D. La. 2006) (citing Qualitex Co. v. Jacobson Prod. Co., 514 U.S. 159, 164–65

(1995) and Eppendorf Netheler Hinz GmbH v. Ritter GmbH, 289 F.3d 351, 355 (5th Cir. 2002)),

aff’d sub nom. Bd. of Supervisors for Louisiana State Univ. Agric. & Mech. Coll. v. Smack Apparel

Co., 550 F.3d 465 (5th Cir. 2008). Another requirement for protection under the Lanham Act is

that registered and unregistered marks be distinctive. Two Pesos, 505 U.S. at 768–69. For product

design, a showing of secondary meaning is required. Wal-Mart Stores, Inc. v. Samara Bros., Inc.,

529 U.S. 205, 216 (2000). Because a trade dress infringement claim brought under Texas common

law employs the same rules and standards as a claim under federal law, the Court will analyze

them together. YETI Coolers, LLC v. JDS Indus., Inc., 300 F. Supp. 3d 899, 904 n.1 (W.D. Tex.




                                               26
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                       Page 27 of 48 PageID 3950


2018) (citing Amazing Spaces, 608 F.3d at 236 n.7 and RE/MAX Int'l, Inc. v. Trendsetter Realty,

LLC, 655 F. Supp. 2d 679, 711 (S.D. Tex. 2009)).

II.     Tests for Functionality

        For trade dress to be protectable under the Lanham Act it must be nonfunctional. Qualitex

Co. v. Jacobson Prod. Co., 514 U.S. 159, 164 (1995) (“It is the province of patent law, not

trademark law, to encourage invention by granting inventors a monopoly over new product designs

or functions for a limited time . . . .” (citing 35 U.S.C. §§ 154, 173)). This is because “[i]f a

product’s functional features could be used as trademarks . . . , a monopoly over such features

could be obtained without regard to whether they qualify as patents and could be extended forever

(because trademarks [unlike patents] may be renewed in perpetuity).” Id. at 164–65.

        The primary test for determining functionality, the “traditional test,” is “whether the feature

is essential to the use or purpose of the product or whether it affects the cost or quality of the

product.” Eppendorf, 289 F.3d at 356 (citing TrafFix, 532 U.S. at 32–33). If a feature is the “reason

the device works,” then it is functional and the “availability of alternative designs is irrelevant.”

Id. at 355 (citing TrafFix, 532 U.S. at 33–34). A feature is “essential to the use or purpose of the

product if it serves any significant function other than to distinguish a firm’s goods or identify their

source.” Clearline Technologies Ltd. v. Cooper B-Line, Inc., 948 F. Supp. 2d 691 (S.D. Tex. 2013)

(quoting Poly–Am., L.P. v. Stego Indus., L.L.C., No. 3:08–CV–2224–G, 2011 WL 3206687, at *10

(N.D. Tex. July 27, 2011) (citing Qualitex, 514 U.S. at 165–66) (internal quotation marks

omitted)). “‘Essential,’ as used in the traditional test of functionality[,] . . . is a term of art, used to

distinguish product features that only serve to identify a product’s source from those that serve

‘any other significant function.’” Poly-Am., 2011 WL 3206687, at *10 (citing Qualitex, 514 U .S.

at 166).




                                                    27
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                    Page 28 of 48 PageID 3951


       A secondary test for determining functionality, the “competitive necessity” test, looks to

whether “the exclusive use of the feature would put competitors at a significant non-reputation-

related disadvantage.” Eppendorf, 289 F.3d at 356. (citation and quotation marks omitted). When

applying this test, courts consider “whether the design yields a utilitarian advantage, alternative

designs are available in order to avoid hindering competition, and whether the design achieves

economies in manufacture or use.” ERBE Elektromedizin GmbH v. Canady Tech. LLC, 629 F.3d

1278, 1288 (Fed. Cir. 2010). However, if a product feature is functional under the traditional test,

a court need not address the competitive necessity of the feature. Eppendorf, 289 F.3d at 356; Bd.

of Supervisors, 550 F.3d at 488 (rejecting aesthetic functionality); see also M3 Girl Designs, LLC

v. Blue Brownies, LLC, No. 3-09-CV-2390-F, 2013 WL 12094183, at *3 (N.D. Tex. Jan. 3, 2013)

(“If the asserted trade dress is not functional under the traditional test, then courts in the Fifth

Circuit consider whether it is functional under the ‘competitive necessity’ test.”).

       A party’s trade dress may receive protection over a combination of functional elements

that define the trade dress if they are combined in an arbitrary, fanciful, or distinctive fashion.

Provident Precious Metals, LLC v. Nw. Territorial Mint, LLC, 117 F. Supp. 3d 879, 895 (N.D.

Tex. 2015) (citing Taco Cabana Int’l, Inc. v. Two Pesos, Inc., 932 F.2d 1113, 1119 (5th Cir. 1991)

aff’d sub nom. Two Pesos, 505 U.S. 763); see also Jenny Yoo Collection, Inc. v. Watters Designs,

Inc., No. 3:17-CV-3197-M, 2018 WL 3330025, at *3 (N.D. Tex. June 6, 2018) (“Defendants

ignore that a particular combination of functional elements may be protected if configured in an

‘arbitrary, fanciful, or distinctive’ fashion.” (citations omitted)). “In other words, where individual

functional components are combined in a nonarbitrary manner to perform an overall function, the

producer cannot claim that the overall trade dress is non-functional.” Clearline, 948 F. Supp. 2d

at 701 (citing Antioch Co. v. W. Trimming Corp., 347 F.3d 150, 158 (6th Cir. 2003)). And as noted




                                                  28
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 29 of 48 PageID 3952


by the court in TrafFix, where trade dress involves product design, as is the case here, it “almost

invariably serves purposes other than source identification.” TrafFix, 532 U.S. at 29 (quoting Wal-

Mart, 529 U.S. at 213). “Unless protected by patent or copyright, functional product features may

be copied freely by competitors in the marketplace.” Eppendorf, 289 F.3d at 355. Accordingly, the

issue presented here is not whether the components of Pearson’s trademark are functional, but

whether the entirety of the mark’s features is functional. YETI, 300 F. Supp. 3d at 913 (citing Taco

Cabana, 505 U.S. at 763).

       A.      Burden of Proof

       Section 32 of the Lanham Act, which applies to registered trademarks, provides that a mark

registered on the principal registry is admissible and prima facie evidence of its validity “but shall

not preclude another person from proving any legal or equitable defense or defect . . . .” 15 U.S.C.

§ 1115(a). A mark becomes “incontestable” after five years of continuous commercial use. Id. §

1065. However, incontestable status does not mean a trademark is indisputable. Id. § 1115(b). An

incontestable trademark is subject to the nine defenses and defects listed under subsection (b),

which includes that the mark is functional. Id. § 1115(b)(8). Here, Pearson’s mark is not an

incontestable trademark because it has not been used for the requisite time. However, a mark that

is registered, but has not obtained “incontestable” status, still benefits from the presumption of

validity. RJ Mach. Co. v. Canada Pipeline Accessories Co., 116 F. Supp. 3d 795, 808 (W.D. Tex.

2015). And the presumption may be rebutted by evidence that the mark is functional. Poly-Am.,

2011 WL 3206687, at *7 (evidence that the trademark holder advertised utilitarian benefits

nullified the presumption of validity).

       Ackerman may rebut the presumption of validity by introducing evidence that Pearson’s

registered trademark is functional. If Ackerman rebuts the presumption, Pearson bears the burden




                                                 29
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                  Page 30 of 48 PageID 3953


of proving its mark is not functional. Poly-Am., 2011 WL 3206687, at * 7; See Amazing Spaces,

608 F.3d at 239 (applying the burden-shifting approach to distinctiveness) (citing Vision Ctr. v.

Opticks, Inc., 596 F.2d 111, 119 (5th Cir. 1979) (“[T]his presumption is rebuttable and may be

overcome by establishing the generic or descriptive nature of the mark.” (quotation omitted))).

       B.      Rebutting the presumption of validity

       The evidence adduced at trial nullifies the presumption of validity conferred by Pearson’s

registered mark. First, Pearson admits that every element of its trademark and trade dress serves a

functional purpose. Second, Ackerman presented several examples where features of the Pearson

mark provided utilitarian, non-reputational advantages such as operability from both a left- and

right-handed configuration, ease of use, access, and safety considerations. Third, Pearson

advertised the utilitarian benefits of the Pearson Chute, for example, the vertical sides,

unobstructed opening and hinging, self-catch gate, ease of operation, and convertible right or left

control handle. Finally, Pearson’s expired utility patents depict the Pearson mark, claim the frame

that is described by the patents, and disclose utilitarian advantages of the Pearson mark.

       Although there is no evidence cited by Ackerman to establish there is a cost advantage

because of the Pearson design, the Court finds the evidence is sufficient to rebut the presumption

of validity of Pearson’s mark. Accordingly, Pearson now bears the burden of persuasion to prove

its mark is nonfunctional.

       C.      Functionality of Pearson’s mark

       Under the traditional test, Pearson must establish that the Pearson mark is nonfunctional.

Eppendorf, 289 F.3d at 355 (citing 15 U.S.C. § 1125(a)(3)). Pearson has failed to meet its burden.

       A two-step inquiry is employed to make this determination, which includes assessing (1)

the functionality of the individual trademarked features and (2) the overall relationship and




                                                30
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                  Page 31 of 48 PageID 3954


arrangement of those features, because “even if the overall combination of elements is functional,

one or more individual parts might still be nonfunctional.” 1 McCarthy on Trademarks and Unfair

Competition § 7:76 (5th ed. 2019). Pearson readily admits that the individual features that comprise

the Pearson mark serve a functional purpose, which is not surprising for a product design mark.

Pearson instead argues that the size, shape, position, and arrangement relative to each component

feature of the mark are nonfunctional and properly registerable.

               1. Utility Patents

       Pearson has a heavy burden to show the combination of features in its trademark is not

functional. TrafFix, 532 U.S. at 30. (“Where the expired patent claimed the features in question,

one who seeks to establish trade dress protection must carry the heavy burden of showing that the

feature is not functional, for instance by showing that it is merely an ornamental, incidental, or

arbitrary aspect of the device.”). And when analyzing functionality of a trademark, the claims are

not the only important sources. A patent’s specification revealing the purpose of a design

configuration may be equally strong evidence of functionality. In re Becton, Dickinson & Co., 675

F.3d 1368, 1375 (Fed. Cir. 2012) (citing TrafFix, 532 U.S. at 32–33, 34–35).

       The Court finds that Pearson’s ‘629 patent not only discloses functional features of the

mark, but also describes many aspects of the mark’s overall arrangement. Pearson argues that

although the patents call for a frame, they do not specify the arrangement of the Pearson mark.

Ackerman does not argue the frame, as described in the patent, is what is actually claimed as the

invention. Nor does it need to be as the background and description of the patent provide context

to Pearson’s reference to the frame. Claims 1 and 2 of the ‘629 patent disclose a “frame” providing

support for the squeeze chute contained within. The frame is described as having a rigid and

rectangular base with cylindrical, parallel, and upright rear posts that are connected by upper side




                                                31
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 32 of 48 PageID 3955


rails to a pair of upright vertical front posts. The rear posts are connected by a crossarm and the

front posts are connected by a front crossarm with an attached squeeze arm connected by a

rectangular flange. Further, the hinge arms are attached to “tubular” vertical posts that rotate about

each of the four vertical posts. Although the Pearson mark describes only which direction the hinge

arms extend, the patent further provides that they are parallel, equal in length, and at the same

height. Although there are some differences between the patent description and the mark, such as

a rectangular versus circular flange, the overall arrangement of the Pearson mark is described in

the ‘629 patent. This conclusion is bolstered by the illustrations disclosed in both the ‘629 and

‘206 patents that look substantially similar to the trademark illustration. (Compare Pl.s’ Exh. 2 at

12 with Pl.s’ Exh. 2 at 156 and 164).

       However, what is important to the functionality analysis is whether the patents disclose

utilitarian features of the mark. The Court concludes that the ‘629 patent discloses utilitarian

advantages of the Pearson mark. First, the ‘629 patent discloses that the raised front crossarm with

attached rectangular flange allows the chute to operate from either side when coupled with the

squeeze handle. As disclosed in the patent and bolstered by trial testimony, this particular

arrangement is a valuable feature enhancing operability of the chute even though it is not claimed.

Second, the background of the invention discloses it is important for a chute to be uniform

throughout its height so as not to discourage an animal from entering the chute. Thus, the frame

that supports the parallel squeeze invention also must comply with this important requirement,

thereby dictating the rectangular base and vertical posts upon which the hinges squeeze the chute.

       Because the overall arrangement of the Pearson Chute as described in the ‘629 patent

provides utilitarian advantages, Pearson has a heavy burden to prove it is not functional.




                                                 32
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                     Page 33 of 48 PageID 3956


                2. Testimony and testimonials also support functionality

       As previously stated, Ackerman presented evidence of the Pearson mark’s non-reputational

advantages. Neidig testified that the combination of the raised front crossbar, circular disks, and

squeeze handle promotes leverage and structural integrity, which are inherent to performance. Hull

agreed with Neidig and added the Pearson Chute’s arrangement makes operating the chute safer.

The testimonials provided by Pearson during prosecution of the mark also support utilitarian

advantages. For example, Tony Dean’s testimonial states the raised crossbar provides “maximum”

force in operating the chute; the chute can be operated from either side; the rectangular design

provides ample room for just about any size animal; and the overall design is clean without any

dangerous protruding bars. (Pl.’s Exh. 2 at 141).

       Under the traditional test for functionality, Pearson has the burden to prove the trademark

features are not “essential to the use or purpose” or do not affect the “cost or quality” of the Pearson

Chute. See TrafFix, 532 U.S. at 32. In its post-trial brief, Pearson restates the syllogism from Taco

Cabana to argue that the “functionality analysis is not ‘(1) functional elements do not enjoy

protection; (2) [the] trade dress includes functional elements; (3) therefore, [the] trade dress does

not enjoy protection. [Because] . . . a particular arbitrary combination of functional features, the

combination of which is not itself functional, properly enjoys protection.’” 932 F.2d at 1119 (5th

Cir. 1991) (emphasis and alterations added). However, missing from Pearson’s briefing and trial

presentation is any evidence that the Pearson mark is merely an arbitrary combination of functional

features. For example, there is no evidence to suggest that Pearson chose to arrange the Pearson

Chute with a raised front crossbar, circular disks, and squeeze handle for any reason other than the

chute works better in that configuration. There is no denying the Pearson Chute’s configuration




                                                  33
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 34 of 48 PageID 3957


works well to immobilize cattle. But there simply is a dearth of evidence to support the conclusion

that the Pearson mark is used to distinguish the cattle chute product from its source.

       Although not emphasized at trial, the existence of alternative designs using features of the

Pearson mark does not prove Pearson’s mark as a whole is nonfunctional. This case is similar to

AMID, Inc. v. Medic Alert Foundation United States, Inc., 241 F. Supp. 3d 788 (S.D. Tex. 2017).

AMID concerned, among other things, the trade dress of a marketing device (an easel display) for

medical identification jewelry. Id. at 810. The plaintiff argued that its trade dress was

nonfunctional because the easel “display could have been designed in thousands of other ways,

with elements in infinite combinations.” Id. at 820 (internal quotation marks omitted). The district

court, relying on Eppendorf and TrafFix, rejected this argument because it ignored the traditional

test for functionality, which does not include available alternative designs. Id.

       Much like in AMID, an argument that Pearson Chute’s features are used in alternative

designs and thus are not functional fails for the same reason. Although TrafFix concerned a single

functional feature, the dual-spring design, and Pearson’s trademark concerns a collection of

functional design features, the reasoning in TrafFix applies here with equal weight. Just because

the features of Pearson’s trademark may be arranged in a number of ways to produce a different

cattle chute, that fact does not prove Pearson’s design was some “arbitrary flourish.” TrafFix, 532

U.S. at 34; Kodiak Prod. Co. v. Tie Down, Inc., No. CIV.A.4:03-CV-1474-Y, 2004 WL 2599353,

at *5 (N.D. Tex. Nov. 12, 2004) (“Simply because a manufacturer can achieve the same result

through an alternative method does not show that a particular product feature is non-functional.”).

Moreover, merely showing that alternative designs employ some of the features of the Pearson

mark, without more, is not evidence proving the Pearson Chute’s design is arranged for any

purpose other than its function. Tie Tech, Inc. v. Kinedyne Corp., 296 F.3d 778, 786 (9th Cir. 2002)




                                                 34
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 35 of 48 PageID 3958


(foreclosing a finding of non-functionality where “the whole is nothing other than the assemblage

of functional parts.”).

        In summary, under the traditional test for functionality, Pearson has failed to show that the

Pearson Chute features are not “essential to the use or purpose” of the trade dress and do not affect

the “cost or quality” of the trade dress. See TrafFix, 532 U.S. at 32. There is evidence of

functionality because Pearson’s expired ‘629 utility patent, while not claiming all the features of

Pearson’s mark, does disclose nearly every feature and describes utilitarian advantages of the

mark, supporting a finding of functionality. Further, trial testimony described the Pearson mark’s

utilitarian advantages of operability and safety. Finally, the record does not support a conclusion

that the design is not essential to the way the cattle chute functions. Indeed, trial testimony and

advertising materials and testimonials submitted to the PTO prove that Pearson arranged the

functional features of its cattle chute to make the chute work better.

        Nor can Pearson argue the mark’s features as a whole are nonfunctional. Pearson did not

direct the Court to any evidence or testimony proving its design is configured in an arbitrary,

fanciful, or distinctive way or intended to identify its source. To the contrary, there is evidence

proving Pearson’s mark serves a functional purpose that is not aimed at identifying the source of

the cattle chute. Clearline, 948 F. Supp. 2d at 701 (“[W]here individual functional components are

combined in a nonarbitrary manner to perform an overall function, the producer cannot claim that

the overall trade dress is non-functional.”); Leatherman Tool Grp., Inc. v. Cooper Indus., Inc., 199

F.3d 1009, 1013 (9th Cir. 1999) (“[W]here the whole is nothing other than the assemblage of

functional parts, and where even the arrangement and combination of the parts is designed to result

in superior performance, it is semantic trickery to say that there is still some sort of separate

‘overall appearance’ which is non-functional.”).




                                                 35
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 36 of 48 PageID 3959


       Because Pearson has not met its burden under the traditional test for functionality, the Court

need not analyze functionality under the competitive necessity test. Accordingly, Pearson’s mark

is functional and therefore is not protectable.

III.   Distinctiveness

       For product design, the Supreme Court has held that an action for infringement of

unregistered trade dress requires a showing of secondary meaning. Wal-Mart, 529 U.S. at 216.

Neither party claims that the Pearson mark is capable of inherent distinctiveness as product design

trade dress or that the Pearson mark is closer to product packaging trade dress. Even so, in close

cases where trade dress falls between product packaging or design, courts “should err on the side

of caution and classify ambiguous trade dress as product design, thereby requiring secondary

meaning.” Id. at 215. Here, the Pearson Chute is squarely a product design as Pearson has argued

that the arrangement of the chute’s functional features is protectable as a mark. Accordingly, the

Court follows the Supreme Court’s guidance and finds that for Pearson to prevail on its

infringement claims, Pearson must show the mark has acquired secondary meaning.

       Although the Pearson mark is not protectable because it is functional, the Court addresses

whether the mark acquired secondary meaning and is therefore distinctive. Neither party contests

Pearson is trying to enforce its registered trademark. However, it is unclear what rights Pearson is

claiming under its unregistered trade dress. “Without . . . a precise expression of the character and

scope of the claimed trade dress, litigation will be difficult, as courts will be unable to evaluate

how unique and unexpected the design elements are in the relevant market” or to “shape narrowly-

tailored relief if they do not know what distinctive combination of ingredients deserves

protection.” AMID, 241 F. Supp. 3d at 806 (quoting Landscape Forms, Inc. v. Columbia Cascade

Co., 113 F.3d 373, 381 (2d Cir. 1997)). But throughout litigation of this case, at trial, and in the




                                                  36
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 37 of 48 PageID 3960


parties’ post-trial briefing, Pearson’s registered trademark and trade dress are one and the same.

Accordingly, the Court will analyze the distinctiveness of Pearson’s trademark and trade dress

together.

       Pearson argues in its post-trial brief that its mark is presumptively distinctive because it is

registered. (ECF No. 154 at 2). However, the presumption does not look back in time to before the

mark was registered. Converse, Inc. v. Int’l Trade Comm’n Skechers U.S.A., Inc., 909 F.3d 1110,

1118 (Fed. Cir. 2018); 2 McCarthy § 11:43 (“The presumption to which a § 2(f) registration is

entitled is not that the designation is inherently distinctive, but that it had acquired secondary

meaning as of the date of registration.”). And the same burden-shifting analysis as discussed for

functionality also applies to whether a mark has acquired secondary meaning. Test Masters Educ.

Servs., Inc. v. Singh, 428 F.3d 559, 567 (5th Cir. 2005) (“Registration is prima facie proof that the

registered mark is distinctive. However, this presumption can be overcome by showing that the

mark is merely descriptive. The burden then shifts to the registrant to prove that its mark has

secondary meaning.”). In the Fifth Circuit, Ackerman’s burden is one of production. Amazing

Spaces, 608 F.3d at 239 (“[I]introduction of evidence that the [mark] is not distinctive has reduced

the presumption of validity to evidence that the PTO is of the opinion that the [mark] is sufficiently

distinctive to be legally protectable as a mark.”). Ackerman’s post-trial brief does not mention the

presumption conferred by registration of the Pearson mark. Ackerman, however, does discuss

whether the mark has acquired secondary meaning.

       The Court finds Ackerman has met his burden of production. At trial, Ackerman focused

much of his attention on the multiple versions of the Pearson Chute marketed and sold by Pearson

since 1970. Ackerman showed how the Pearson Chute’s design had evolved over the years, but

has remained substantially unchanged in commerce since 1993, after Pearson implemented




                                                 37
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 38 of 48 PageID 3961


circular disks to support actuation of the squeeze handle. He also presented evidence of other cattle

chutes using features of Pearson’s mark after expiration of its patents, such as the 2W Wrangler in

the 1990s and the WW Stampede in the 2000s, not to mention Ackerman’s substantial use of the

Pearson mark since 2014. Although rebutting the presumption for distinctiveness is not required

for the period when the Pearson mark was unregistered, the Court finds Ackerman has met his

burden of production in rebutting the presumption of distinctiveness for the period after the mark

was registered. Thus, Pearson must prove that the mark has acquired distinctiveness through

secondary meaning.

       Secondary meaning occurs when, “in the minds of the public, the primary significance of

a [mark] is to identify the source of the product rather than the product itself.” Bd. of Supervisors,

550 F.3d at 476 (quoting Wal-Mart Stores, 529 U.S. at 211). The burden of demonstrating

secondary meaning “is substantial and requires a high degree of proof.” Test Masters, 428 F.3d at

567. “Because the primary element of secondary meaning is a mental association in buyer[s’]

minds between the alleged mark and a single source of the product, the determination whether a

mark or dress has acquired secondary meaning is primarily an empirical inquiry.” Amazing Spaces,

608 F.3d at 248 (quotation omitted). The Fifth Circuit employs the following seven factors to

determine whether a mark has acquired secondary meaning: “(1) length and manner of the use of

the mark or trade dress, (2) volume of sales, (3) amount and manner of advertising, (4) nature of

use of the mark or trade dress in newspapers and magazines, (5) consumer survey evidence, (6)

direct consumer testimony, and (7) the defendant’s intent in copying the trade dress.” Bd. of

Supervisors, 550 F.3d at 476. These “factors in combination may show that” a mark has acquired

secondary meaning “even if each factor alone would not.” Id.




                                                 38
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 39 of 48 PageID 3962


       The evidence presented at trial does not prove that Pearson’s mark has acquired secondary

meaning. It is not clear when Pearson began advertising and selling the claimed mark. However,

the evidence shows that the Pearson Chute design has remained unchanged since 1993. Although

Ricky Rater testified about Pearson’s annual sales volume, there is no evidence to establish how

many Pearson Chutes have been sold in connection with the mark. He also testified the Pearson

Chute is promoted on Pearson’s website, in print, and at trade shows, but there is little evidence to

establish the extent of the advertisement, not to mention its effectiveness in promoting Pearson as

a source identifier. Nor did Pearson offer evidence of advertising by its distribution network or its

regional distributors and dealers who themselves market Pearson Chutes at trade shows, in print,

and online. Although the few print advertisements in the trademark prosecution file show the

Pearson mark prominently displayed, they also show how the Pearson mark has changed over time,

particularly with respect to the circular disks and rear squeeze hinges. Further, the advertisements

do not describe or emphasize the Pearson mark as being distinctive, focusing instead on utilitarian

advantages of the chute. These factors weigh against a claim of distinctiveness.

       Further, there is no consumer survey evidence to establish the public’s perception of the

Pearson mark. Amazing Spaces, 608 F.3d at 248 (“We have consistently expressed a preference

for an objective survey of the public’s perception of the mark at issue.” (internal quotation marks

and citations omitted)). Although the testimonials presented to the PTO and testimony at trial

indicate that color, raised front crossbar, squeeze handle, removable side panels, and circular disks

are all identifiable features, no empirical studies prove the impact of them, and the testimonials

stress different aspects of these features so it is unclear whether as a whole or individually what

features make the Pearson Chute distinctive. For example, Hull indicated he could recognize a

Pearson Chute from 300 yards away, noting the raised crossbar and circular disks, but he also




                                                 39
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 40 of 48 PageID 3963


testified that the gray color of the chute is distinctive to Pearson. His testimonial to the PTO also

indicated that the tall head gate, clean lines, parallel squeeze, rectangular design, and Pearson’s

gray powder-coat paint color set the Pearson Chute apart from other chutes. (Pl.’s Exh. 2 at 144).

Moreover, Hull was the only consumer who testified at trial about the Pearson Chute’s features.

In sum, because the consumer evidence in the record is inconclusive as to whether the Pearson

mark has acquired secondary meaning, the lack of consumer survey evidence creates an

insurmountable burden for Pearson. See Vision Ctr. v. Opticks, Inc., 596 F.2d 111, 119 (5th Cir.

1979) (finding the evidence of secondary meaning unpersuasive absent objective survey evidence

when only seven consumers testified that the word mark identified the business).

       As for intentional copying, there is no dispute that Ackerman helped develop and sold

chutes using the Pearson mark. The question though is if Ackerman intended to copy features of

the Pearson mark to appropriate Pearson’s goodwill. Generally, “evidence of intentional copying

shows the strong secondary meaning of [a product] because ‘there is no logical reason for the

precise copying save an attempt to realize upon a secondary meaning that is in existence.’” AMID,

241 F. Supp. 3d at 818 (quoting Ferrari S.P.A. v. Roberts, 944 F.2d 1235, 1239 (6th Cir. 1991)

(internal quotation omitted)). But courts also recognize that “evidence of a defendant’s intent to

copy is more relevant to the infringement analysis than the protection analysis.” Id. (quoting Berg

v. Symons, 393 F. Supp. 2d 525, 554 (S.D. Tex. 2005) (citing Sno–Wizard Mfg., Inc. v. Eisemann

Prod. Co., 791 F.2d 423, 428 (5th Cir. 1986) and Blue Bell Bio–Medical v. Cin–Bad, Inc., 864

F.2d 1253, 1256 (5th Cir. 1989))).

       Although Pearson presented no direct evidence that Ackerman intended to copy the

Pearson Chute to pawn off its goodwill as his own, Pearson presented circumstantial evidence of

Ackerman’s intent. Having been a Pearson distributor since 1993, Ackerman knew the Pearson




                                                 40
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                  Page 41 of 48 PageID 3964


Chute was a popular, high quality, and comparatively expensive cattle chute. He helped WW

design a lower priced chute implementing features of the Pearson mark, such as the circular disks

and removable side panels. Soon after Pearson terminated Ackerman as its distributor for sending

a Pearson Chute to WW, he sought out Pro Farm to continue developing a more economical chute,

which became the Renegade. Both the Renegade and Beefmaster incorporate the overall look of

the Pearson mark. Ackerman counters that he only intended to copy features of Pearson’s mark

because of their functionality, which is somewhat bolstered by Carhart. He also stated that because

other manufacturers had copied the Pearson design after Pearson’s patents expired, it was

acceptable for him to do likewise. Further, Ackerman began producing the Renegade in 2014, but

Pearson did not initiate suit and demand Ackerman stop selling the Renegade until after the

Pearson mark was registered. Under these circumstances and considering the credibility of the

witnesses, this factor weighs in favor of secondary meaning, but the probative value is limited by

Pearson’s delay in notifying Ackerman he was infringing. Moreover, because the Court finds that

the Pearson mark is functional, Ackerman’s claim he intended to copy only the functional elements

lessens the impact of this factor as there is a logical reason for Ackerman’s copy.

       Overall, the paucity of evidence in the record weighs against a finding of secondary

meaning. There is no evidence of the volume of Pearson’s sales or the amount of its advertising,

and there is only a cursory sampling of brochures depicting various versions of Pearson Chutes.

Although Pearson has sold a form of the Pearson Chute since 1970, the design has changed through

the years. There is evidence that the post-1993 Pearson Chute incorporates all of the features of

the Pearson mark. But long-term use without evidence that the consuming public associates the

mark with Pearson is of diminished probative value. Bank of Texas v. Commerce Sw., Inc., 741

F.2d 785, 788 (5th Cir. 1984) (disavowing length of time alone as sufficient to establish secondary




                                                41
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                     Page 42 of 48 PageID 3965


meaning). Further, the lack of consumer testimony in light of the absence of consumer survey

evidence, does not weigh in favor of a finding of secondary meaning. Finally, even though

Ackerman copied aspects of the Pearson mark, weighing in favor of secondary meaning, the Court

is unpersuaded given the totality of the evidence and credibility of the witnesses that the Pearson

mark had acquired secondary meaning. Accordingly, the Court finds the Pearson mark is not

distinctive and therefore is not protectable.

IV.    Statutory Trade Dress Dilution and Texas Common Law Trade Dress Infringement

       Pearson also sued Ackerman for trade dress dilution under Texas’ anti-dilution statute and

trade dress infringement under Texas common law.

       As mentioned previously, the standard for trade dress infringement under the Lanham Act

and Texas common law are essentially the same. Amazing Spaces, 608 F.3d at 235 n.7; KLN Steel

Products Co., Ltd. v. CNA Ins. Companies, 278 S.W.3d 429, 440–41 (Tex. App.—San Antonio

2008, pet. denied) (looking to the Lanham Act for the meaning of trade dress infringement under

Texas law). Because Pearson’s claim for trademark and trade dress infringement fail under federal

law so too does its infringement claim fail under Texas common law.

       Pearson’s anti-dilution claim fails for the same reasons as its trademark and trade dress

claims. Under Texas law, “the owner of a mark that is famous and distinctive . . . in this state is

entitled to enjoin another person’s commercial use of a mark . . . if use of the mark . . . is likely to

cause the dilution of the famous mark.” Tex. Bus. & Com. Code Ann. § 16.103(a) (West Supp.

2018). A mark is famous under Texas law

       if the mark is widely recognized by the public throughout this state or in a
       geographic area in this state as a designation of source of the goods or services of
       the mark’s owner. In determining whether a mark is famous, a court may consider
       factors including:




                                                  42
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 43 of 48 PageID 3966


       (1) the duration, extent, and geographic reach of the advertisement and publicity of
       the mark in this state, regardless of whether the mark is advertised or publicized by
       the owner or a third party;

       (2) the amount, volume, and geographic extent of sales of goods or services offered
       under the mark in this state;

       (3) the extent of actual recognition of the mark in this state; and

       (4) whether the mark is registered in this state or in the United States Patent and
       Trademark Office.

Id. § 16.103(b). As with Pearson’s infringement claim, there is not sufficient evidence to prove

Pearson’s mark is distinctive, much less famous. There is little to no evidence of Pearson’s

marketing efforts, sales volume, or recognition of the Pearson mark in Texas. The Court concludes

Pearson has not met its burden of proof that the mark is famous. Therefore, Pearson’s dilution

claim is unsupported.

V.     Fraudulent Procurement of a Trademark

       Finally, Ackerman counterclaims that Pearson’s trademark should be canceled because

Pearson fraudulently procured the trademark with the sole purpose of seeking a cause of action

against Ackerman. Ackerman claims Rickey Rater made false representations to the PTO that if

disclosed would have resulted in rejection of Pearson’s trademark.

       The elements of fraudulent procurement of a trademark are: (1) a false representation of a

material fact; (2) knowledge or belief that the representation is false; (3) intent to induce the PTO

to act or refrain from acting in reliance on the misrepresentation; (4) reasonable reliance by the

PTO on the misrepresentation; and (5) damage from such reliance. Texas Pig Stands, Inc. v. Hard

Rock Café Int’l., 951 F.2d 684, 693 n.14 (5th Cir. 1992). To prevail, Ackerman must prove by

clear and convincing evidence that Pearson made false statements with the intent to deceive the

PTO. Meineke Discount Muffler v. Jaynes, 999 F.2d 120, 126 (5th Cir. 1993). This is a heavy




                                                 43
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 44 of 48 PageID 3967


burden to satisfy. Dallas Cowboys Football Club, Ltd. v. Am.’s Team Props., Inc., 616 F. Supp.

2d 622, 644 (N.D. Tex. 2009) (“The moving party bears a heavy burden in proving fraud in the

procurement of a registration.”). Because there is rarely direct evidence of an intent to deceive, it

may be inferred from indirect or circumstantial evidence. In re Bose, 580 F.3d 1240, 1245 (Fed.

Cir. 2009).

       Ackerman asserts that Ricky Rater knew his statements that Pearson’s use of the mark was

exclusive and continuous from 1973 were false and material to the Examiner. As for continuous

use of the Pearson mark, the evidence shows that Pearson used the mark at least since 1993.

However, Pearson’s trademark application was submitted under Section 2(f), which requires

“proof of substantially exclusive and continuous use” of a “mark by the applicant in commerce for

the five years before the date on which the claim of distinctiveness is made.” 15 U.S.C. § 1052.

Pearson filed its trademark application in 2014. Because Pearson has used the mark in commerce

since 1993, the alleged misstatement that Pearson’s first use was in 1973 is immaterial and cannot

support a finding of fraud. The PTO has long held that an erroneous date of first use does not

constitute fraud so long as there is valid use of the mark before the relevant time. Brewery v.

Brewery, 17 U.S.P.Q.2d 1137 (T.T.A.B. 1990).

       Ricky Rater’s use of the term “exclusive” also does not warrant a finding of fraudulent

procurement. Although his declaration used the term “exclusive” concerning Pearson’s use of the

mark, the declaration also informed the Examiner that the mark had recently been the subject of

copying. And earlier in the prosecution of the trademark, Pearson referred to Ackerman’s website

as evidence of copying. The Examiner even acknowledged Ackerman’s website depicting the

Renegade and other similar cattle chutes as evidence of functionality. Thus, the Examiner knew

about other cattle chutes that looked like the Pearson mark.




                                                 44
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                 Page 45 of 48 PageID 3968


       Professor McKenna testified that the only new evidence presented to the PTO upon

reconsideration was Pearson’s brief containing Ricky Rater’s declaration, which focused on

intentional copying by Ackerman. According to Professor McKenna, Pearson’s new evidence was

the only reason why the Examiner could have issued the trademark. The Court does not accept this

characterization and conclusion. A review of the trademark prosecution file shows Pearson’s brief

on reconsideration contained not only arguments and statements concerning Ackerman’s copying

but also much more thorough and detailed arguments related to functionality, as the brief discussed

the utility patents and the Morton-Norwich factors. The Examiner could have issued the trademark

based on Pearson’s more persuasive arguments concerning functionality instead of statements

made about intentional copying. Under these circumstances, even if Ricky Rater’s statements

concerning Ackerman’s intentional copying were false, the evidence did not establish he did so

with the intent to deceive the Examiner or that the PTO necessarily relied on these statements in

issuing the trademark.

       Ackerman contends that because Ricky Rater did not have personal knowledge of

Ackerman’s intent to copy the Pearson Chute or to use Pearson’s goodwill, the statements were

material misrepresentations showing an intent to deceive. Ackerman attempts to bolster this

argument with Professor McKenna’s testimony that David Rater was the proper person to have

made the declaration. Assuming arguendo that Ricky Rater’s statement were false, Ackerman has

not proven by clear and convincing evidence Pearson’s intent to deceive. First, Ackerman’s post-

trial brief has cited to no case law where a court found fraudulent procurement on facts similar to

this case. Second, Ricky Rater signed the declaration on behalf of Pearson, Inc. He testified that

he discussed the matter with David Rater who directly communicated with Ackerman and

investigated the statements made in the declaration. Under these circumstances and considering




                                                45
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                  Page 46 of 48 PageID 3969


Ricky Rater’s position in the company as Vice President and General Manager, the contents of the

declaration were within his sphere of responsibility. The Court does not find fraud in this context.

See DIRECTV, Inc. v. Budden, 420 F.3d 521, 530 (5th Cir. 2005) (declining to find a summary

judgment affiant lacked personal knowledge when it can be reasonably inferred from a corporate

employees’ position and participation in the matter).

       Although Ricky Rater may not have had actual knowledge of Ackerman’s intent to copy

the Pearson Chute design, there is circumstantial evidence indicating the Renegade was designed

to imitate it while minimizing manufacturing costs. “There is no fraud if a false misrepresentation

is occasioned by an honest misunderstanding or inadvertence without a willful intent to deceive.”

In re Bose, 580 F.3d at 1246. On these facts, there is no clear and convincing evidence establishing

Pearson fraudulently procured its trademark.

VI.    Trademark Cancellation

       Ackerman requests that Pearson’s trademark registration be canceled pursuant to 15 U.S.C.

§ 1119. Under Section 1119, federal courts have the power to order the cancellation of registrations

“[i]n any action involving a registered mark.” 15 U.S.C. § 1119; Nola Spice Designs, L.L.C. v.

Haydel Enterprises, Inc., 783 F.3d 527, 547 (5th Cir. 2015). Because the Court has concluded

Pearson’s mark is functional and not distinctive, the PTO shall cancel Pearson’s registration to

prevent further litigation regarding this action. See 15 U.S.C. § 1064(3).

VII.   Ackerman’s Defenses

       In his Answer to Pearson’s Original Complaint, Ackerman asserted laches, unclean hands,

equitable estoppel, acquiescence and fair use as defenses. (ECF No. 12 at 14–17). As the court has

determined that Pearson has failed to establish by a preponderance of evidence its claims for

trademark and trade dress infringement under the Lanham Act, trade dress infringement under




                                                46
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 47 of 48 PageID 3970


Texas common law, and statutory dilution under the Texas Business and Commerce Code,

Ackerman’s defenses are moot, and the court will not discuss them. In the event that they are not

moot, the Court finds that Ackerman did not prove any of such defenses by a preponderance of the

evidence.

VIII. Exceptional Case

       Ackerman has requested the Court to find this case is “exceptional” under the Lanham Act

and award him reasonable attorney’s fees as the prevailing party. The Court denies the request.

Under Section 1117 of the Lanham Act, “[t]he court in exceptional cases may award reasonable

attorney fees to the prevailing party.” “[A]n exceptional case is one where (1) in considering both

governing law and the facts of the case, the case stands out from others with respect to the

substantive strength of a party’s litigating position; or (2) the unsuccessful party has litigated the

case in an “unreasonable manner.” Baker v. DeShong, 821 F.3d 620, 625 (5th Cir. 2016). Courts

determine whether a case is exceptional on a case-by-case basis and after considering the totality

of the circumstances. Id. There can be no dispute that Ackerman is the prevailing party as the Court

has ordered the PTO to cancel Pearson’s registered mark. However, Pearson’s litigation position

and actions during the case do no warrant an exceptional case finding.

       Pearson’s litigation position was not so weak as to warrant an award of attorney’s fees in

favor of Ackerman. Pearson sued Ackerman for trade dress and trademark infringement after

obtaining trademark registration from the PTO. As stated above, registration confers a presumption

of validity over the mark. Although Pearson’s position ultimately failed notwithstanding the

presumption, Pearson should not be faulted for relying on the registration to enforce its rights.

Thus, the Court finds Pearson’s position was not exceptionally weak under the circumstances.




                                                 47
Case 7:18-cv-00013-BP Document 157 Filed 07/29/19                   Page 48 of 48 PageID 3971


       Nor did Pearson litigate the case in an unreasonable manner. Although Pearson knew

Ackerman was selling potentially infringing cattle chutes three years before filing suit, this is not

so long as to warrant an award of attorney’s fees, as the evidence shows Pearson began prosecuting

its trademark shortly after terminating Ackerman’s distributorship. Further, as discussed above,

Ackerman failed to prove that Pearson fraudulently procured the trademark. Moreover, although

discovery in this case was at times contentious, it was not so one-sided and Pearson’s actions so

objectively unreasonable as to find an award of attorney’s fee is warranted.

       Having considered the strength of Pearson’s claims and actions litigating the case, and after

reviewing the evidence and the totality of the circumstances, the Court finds that the case is not

exceptional. Accordingly, Ackerman’s request for attorney’s fees is denied.

                                         CONCLUSION

       For these reasons, Pearson is not entitled to recover on its claims for trademark and trade

dress infringement under the Lanham Act, 15 U.S.C. §§ 1051, et seq., trade dress dilution under

Section 16.103 of the Texas Business and Commerce Code, and Texas common law trade dress

infringement. Further, because Pearson’s trademark is not protectable, the Court, pursuant to 15

U.S.C. § 1119, orders the Director of the United States Patent and Trademark Office to cancel

Pearson’s Inc.’s trademark registration No. 5,184,202, which was registered on April 18, 2017.

Ackerman’s request for attorney’s fees is denied.

       Signed on July 29, 2019.



                                              ______________________________________
                                              Hal R. Ray, Jr.
                                              UNITED STATES MAGISTRATE JUDGE




                                                 48
